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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No. 15-cv-00992-RBJ-KLM

  AHMAD AJAJ,

          Plaintiff,

  v.


  FEDERAL BUREAU OF PRISONS,

          Defendant.


           JOINT MOTION FOR REFERRAL FOR SETTLEMENT CONFERENCE


          The parties, through undersigned counsel, hereby submit this joint motion for referral to

  Magistrate Judge Mix for a settlement conference on the issues of attorneys’ fees and costs. In

  support thereof, the parties state as follows:

       1. Mr. Ajaj filed this case on May 11, 2015. Doc. 1. After several years of motions briefing

          and discovery, the case proceeded to trial against Defendant Federal Bureau of Prisons

          (BOP) on August 27 and 28, 2018. See generally Doc. 297-98 (Bench Trial Transcripts).

          After trial, on September 13, 2018, the Court issued its Findings, Conclusions and Order

          of Judgment, issuing an injunction against Defendant BOP, finding that “[Mr. Ajaj] was

          the prevailing party,” and awarding Mr. Ajaj “a reasonable attorney’s fee.” Doc. 291.

          Final judgment entered that same day. Doc. 292.

       2. Defendant BOP filed a Motion to Amend the Judgment on October 12, 2018. Doc. 301.

          Mr. Ajaj responded (Doc. 304), and Defendant BOP replied (Doc. 307).
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     3. While that motion was pending before the Court, the parties engaged in negotiation on

        Mr. Ajaj’s attorneys’ fees and costs as well as Defendant BOP’s compliance with the

        Court’s injunction. See generally Doc. 315 at 1-2 (outlining negotiation history).

     4. In February 2019, Defendant BOP transferred Mr. Ajaj from the United States

        Penitentiary-Terre Haute in Terre Haute, Indiana, to the United States Penitentiary-

        Allenwood in Allenwood, Pennsylvania. Id. at 2. After the transfer, the parties could not

        reach agreement on the issues surrounding Defendant BOP’s compliance with the

        injunction, so Mr. Ajaj filed his Petition for Attorneys’ Fees and Expenses (Doc. 315),

        Proposed Bill of Costs (Doc. 316), Motion for Order to Show Cause Why Defendant

        BOP Should Not be Held in Contempt (Doc. 317), and Motion for Relief from Order

        (Doc. 243) and Judgment (Doc. 292) (Doc. 318) on March 1, 2019.

     5. Defendant BOP did not respond to Mr. Ajaj’s Petition for Attorneys’ Fees and Expenses,

        but the parties fully briefed the other motions (see Doc. 325, 326, 328, 329) and the clerk

        set a costs hearing for May 2, 2019 (Doc. 327). On April 15, 2019, the Court issued its

        Order on Post-Trial Motions (Doc. 330), granting Defendant BOP’s motion to amend the

        judgment and denying Mr. Ajaj’s motions. As to Mr. Ajaj’s request for attorneys’ fees,

        the Court ordered the parties “to resume negotiations toward a reasonable compromise.”

        (Doc. 330). In light of the Court’s order, the parties requested the clerk vacate the costs

        hearing. Doc. 332.

     6. The parties submit that their efforts to reach a reasonable compromise could be achieved

        more efficiently with the assistance of Magistrate Judge Mix. In part, a settlement

        conference would allow for a more efficient resolution because both parties would



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        necessarily need to be available during the course of the settlement conference, which

        would therefore avoid the delay inherent to requiring Mr. Ajaj’s counsel to set a legal call

        with Defendant BOP staff each time it must convey a new offer to Mr. Ajaj. Defendant

        BOP has informed Mr. Ajaj’s counsel that staff at USP-Allenwood will arrange for Mr.

        Ajaj to remain in his housing unit during the settlement conference with a case manager

        or counselor available to quickly bring him to the phone within a few minutes of a

        request from Mr. Ajaj’s counsel or the Court. Further, Mr. Ajaj is incarcerated and

        indigent; therefore, this case would be more cost effectively mediated by a magistrate

        judge rather than a private mediator.

     7. Pursuant to D.C.Colo.LCivR 16.6, a district judge “may direct the parties to a suit to

        engage in an early neutral evaluation or other alternative dispute resolution proceeding.”

        The parties would agree to such an order and are requesting that the Court enter an order

        of referral to allow Magistrate Judge Mix to set a settlement conference on the issue of

        attorneys’ fees and costs at the Court’s convenience.

        WHEREFORE, the parties respectfully move this Court for an order of reference to

     Magistrate Judge Mix for the purpose of holding a settlement conference.

  DATED: June 13, 2019

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                                  CERTIFICATE OF SERVICE

          I hereby certify that on June 13, 2019, I electronically filed the foregoing JOINT
  MOTION FOR REFERRAL FOR SETTLEMENT CONFERENCE with the Clerk of Court
  using the CM/ECF system, which will send electronic notification via e-mail to the following:

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